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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

IN THE MATTER OF THE SEARCH OF
446 WEST MAIN STREET, MONROE,                 No. 1:23-mj-00184-KFW
MAINE
                                              Filed Under Seal

                AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 FOR A WARRANT TO SEARCH AND SEIZE

      I, Special Agent Kyle Bishop, being first duly sworn, hereby depose and state as

follows:

                 INTRODUCTION AND AGENT BACKGROUND

      1.     I make this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a warrant to search the real property and

structures located thereon at 446 West Main Street in Monroe, Maine, hereinafter

“SUBJECT PREMISES,” further described in Attachment A for the things described in

Attachment B.

      2.     I am a Special Agent with the United States Department of Agriculture –

Office of Inspector General (“USDA-OIG”). As such, I am an “investigative or law

enforcement officer” within the meaning of 18 U.S.C. § 2510(7) in that I am an officer of

the United States who is empowered by law to conduct investigations and to make

arrests for federal felony offenses. I also am a "federal law enforcement officer" within

the meaning of Rule 41 of the Federal Rules of Criminal Procedure.

      3.     I am a graduate of the Criminal Investigator Training Program at the

Federal Law Enforcement Training Center. I am also a graduate of the Rhode Island

Police Academy and the U.S. Coast Guard Maritime Law Enforcement Academy. I

hold a bachelor’s degree in criminal justice and a master’s degree in education.
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       4.     As a federal agent, I am authorized to investigate violations of laws of the

United States and as a law enforcement officer I am authorized to execute search

warrants issued under the authority of the United States. Specifically, I am authorized to

conduct and supervise investigations relating to the programs and operations of the

United States Department of Agriculture; to make arrests, execute warrants, and carry

firearms as authorized by the Agriculture and Food Act of 1981 (P.L. 97-98); and to

exercise all duties and responsibilities authorized by the Inspector General Act of 1978

or incident thereto, including the authority to obtain United States Department of

Agriculture records and information, to administer oaths, and to undertake other duties

as necessary in support of the mission of the Office of Inspector General.

       5.     I investigate animal fighting as part of my duties as a Special Agent of the

U.S. Department of Agriculture. I have personally participated in numerous dogfighting

investigations across the United States including executing multiple dogfighting-related

search warrants. I have received and provided specialized training related to animal

fighting and related federal offenses. Through training, investigations, and undercover

contacts of persons involved in animal fighting offenses, I am familiar with the actions,

traits, habits, and terminology utilized by subjects involved in dogfighting ventures.

       6.     I am familiar with the facts set forth in this affidavit based on my personal

observations and information provided to me by other law enforcement personnel

participating in this investigation. I am also familiar with the facts set forth herein based

on my review of documents, reports, photographs, and video and audio files.




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       7.     This affidavit is intended to show only that there is sufficient probable

cause for the requested warrant and does not set forth all of my knowledge about this

matter.

       8.     Based on my training and experience and the facts as set forth in this

affidavit, probable cause exists to believe that violations of 7 U.S.C. § 2156 and 18 U.S.C.

§ 49, which prohibit, among other things, sponsoring or exhibiting an animal in an

animal fighting venture; buying, selling, delivering, possessing, training, or transporting

animals for participation in an animal fighting venture; and the use of the postal service

or other interstate instrumentality for promoting or furthering an animal fighting

venture; aiding and abetting the same, in violation of 18 U.S.C. § 2; and/or conspiracy to

commit the same, in violation of 18 U.S.C. § 371 (the “Subject Offenses”) have been

committed by David Frazer (“Frazer”), John Murphy (“Murphy”), and other persons

known and unknown. There is also probable cause to search the SUBJECT PREMISES

described in Attachment A for evidence, instrumentalities, contraband, and/or fruits of

these crimes further described in Attachment B.

              IDENTIFICATION OF PROPERTY TO BE SEARCHED

       9.     The premises to be searched is 446 West Main Street in Monroe, Maine,

including the residence, outbuildings, curtilage, attic, basement, vehicles, trash and

recycling receptacles, as well as all common areas and contiguous property that makes

up the SUBJECT PREMISES. The premises to be searched also includes the person of

Frazer and Murphy if they are located on the SUBJECT PREMISES at the time the

search warrant is executed.



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       10.     As of June 14, 2023, a query of the Accurint information database (a

public records database—which has proven reliable in previous investigations—that

provides names, dates of birth, addresses, associates, telephone numbers, email

addresses, etc.) for Frazer shows his address as the SUBJECT PREMISES.

       11.     Records from the Town of Monroe, Maine Assessor’s Office show Frazer to

be an owner of record for the SUBJECT PREMISES. Those records list Frazer as the co-

owner of a 46-acre property identified as parcel 009-009.1 The parcel is recorded by the

Assessor’s Office as Account #237, 009-009/B2936P85.




       12.     A query of Maine Bureau of Motor Vehicles automated records indicates

that Frazer possesses an active driver’s license issued on January 9, 2023, with an

address of the SUBJECT PREMISES.

       13.     Based upon my observations and available information, I know the

SUBJECT PREMISES to include a grey-colored residence/structure with light-colored

window trim and rear decking attached to that structure. A red barn-type structure is

located adjected to the residence. The residence and barn-type structure are located at

the end of a driveway. The SUBJECT PREMISES also includes several outbuildings

located on the property.




1 I was unable to locate 009-009 on a publicly available parcel map. Though I have not able to

confirm, it is possible that the 46-acre parcel was subdivided into smaller parcels.
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       14.      The SUBJECT PREMISES is further described in Attachment A, which

is incorporated herein by reference.

                  IDENTIFICATION OF PROPERTY TO BE SEIZED

       15.      The property described in Attachment B, which is incorporated herein

by reference.

                             STATUTORY BACKGROUND

       16.      The federal Animal Welfare Act (“AWA”) sets general standards for

humane care and treatment that must be provided for certain animals. Congress

assigned the U.S. Department of Agriculture with the responsibility for enforcing the

AWA. The federal Animal Welfare Act defines “animal fighting venture” as “any event,

in or affecting interstate or foreign commerce, that involves a fight conducted or to be

conducted between at least two animals for purposes of sport, wagering, or

entertainment.” 7 U.S.C. § 2156(f)(1). It is illegal to sponsor or exhibit an animal in an

animal fighting venture. 7 U.S.C. § 2156(a)(1). It is also illegal to possess, train, sell, buy,

transport, deliver or receive an animal for purposes of having the animal participate in

an animal fighting venture. 7 U.S.C. § 2156(b).

       17.      The Animal Welfare Act also makes it a crime to knowingly use the mail or

any instrumentality of interstate commerce for commercial speech for advertising a

fighting animal, or promoting or furthering an animal fighting venture. 7 U.S.C. §

2156(c). All of these offenses are felonies punishable by up to five years in prison. 7

U.S.C. § 2156(i); 18 U.S.C. § 49.




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       18.    Additionally, it is unlawful for any person to knowingly attend an animal

fighting venture or knowingly cause an individual who has not attained the age of 16 to

attend an animal fighting venture. 7 U.S.C. § 2156(a)(2); 18 U.S.C. § 49.

       19.    The Secretary of Agriculture is authorized to enforce the Animal Welfare

Act, which provides that, “[t]he Secretary or any other person authorized by him shall

make such investigations as the Secretary deems necessary to determine whether any

person has violated or is violating any provision of this section . . . .” 7 U.S.C. § 2156(e).

       20.    Pursuant to the Animal Welfare Act, “[a] warrant to search for and seize

any animal which there is probable cause to believe was involved in any violation of this

section may be issued by any judge of the United States or of a State court of record or

by a United States magistrate judge within the district wherein the animal sought is

located.” 7 U.S.C. § 2156(e). Further, “[a]ny animal involved in any violation of this

section shall be liable to be proceeded against and forfeited to the United States at any

time on complaint filed in any United States district court or other court of the United

States for any jurisdiction in which the animal is found . . . .” Id.

                     FACTS SUPPORTING PROBABLE CAUSE

                                  Background Information

       21.    The statements in this section are based on my training and personal

experience investigating animal fighting ventures, and on information provided to me

by other law enforcement personnel.

       22.    In the United States, dogfighting ventures involve dogs including “pit

bull”-type dogs, which dogfighters prefer for their compact muscular build, short coat,

and the aggression that some display toward other dogs. A dogfight occurs when two

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dogs are knowingly released by their handlers in a controlled environment to attack

each other and fight. The fight ends when one dog withdraws, when a handler “picks up”

their dog and forfeits the match, or when a dog kills the other dog or both dogs die.

Winners of dog fights may receive financial awards. Betting is also common at dog

fights.

          23.   Organized dogfights often occur in a low-walled, rectangular, or square

enclosures referred to as a “pit” or “box.” Alternatively, the walls of the corner of a room

or basement can serve as an improvised pit. The “pit” serves to keep the fighting dogs

confined while engaged in the fight. The wall components and flooring in and around a

dogfighting pit will contain blood, fur, and other animal matter because of the nature of

dogfighting. The clothing worn by owners and handlers of a dog in a dogfight as well as

any implements including break sticks (parting sticks) will likely contact blood and

other bodily fluid of dogs because of injuries sustained during a dogfight. Dogfighting

pits often use carpeting as a floor within the enclosure to provide traction for the

fighting dogs and to absorb blood from injuries sustained during the fight.

          24.   Because of their conditioning and training, dogs used in animal fighting

ventures are typically housed separately from other dogs, in pens, cages, or on chains, so

that they will not hurt or kill other dogs when the handler is absent. Heavy chains, also

known as logger chains, are often used when restraining dogs for the dual purposes of

controlling the strong animals and developing strength to prepare for fighting.

          25.   Dogfighters may fight dogs with a goal of obtaining “Champion” (“Ch”) or

“Grand Champion” (“Gr Ch”) status for their dogs which is achieved by winning three or

five fights respectively. Dogfighters may maintain contact with other dogfighters around

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the country and can generate substantial income from gambling on dogfights and from

the sale and breeding of fighting animals.

       26.    Dogfighters select the strongest, most capable fighting dogs and selectively

breed, sell, and fight only those dogs that display particular traits. Some of these traits

are: (1) “gameness” or aggressiveness and propensity to fight other dogs until the death;

(2) a willingness to continue fighting another dog despite traumatic and/or mortal

injury; and (3) cardiovascular endurance to continue fighting for long periods of time

and through fatigue and injury. Dogs displaying these attributes are often bred with

other dogs displaying similar traits to enhance the bloodline of these dogs for fighting

purposes. Dogfighters such as the individuals described in this affidavit often keep such

dogs for the purposes of furthering animal fighting ventures and solely for fighting

purposes.

       27.    The most common way that a dogfighter tests a particular dog to ascertain

whether the dog is “game” is to “roll” or “bump” the dog. A “roll” is a dog fight

conducted for purposes of “game-testing” rather than for wagering. “Roll” fights

generally last from five to fifteen minutes, at which point the handlers usually stop the

fight. However, “roll” fights can result in serious injury or death to one or both dogs.

“Rolls” are sometimes referred to as “bumps.”

       28.    Not all dogs in a litter of puppies bred from fighting dogs will show

inclination to fight. Dogfighters refer to dogs who do not demonstrate fighting instinct by

the time they reach maturity as “cold” or “shy.” Because such dogs have no value to a dog

fighting operation, they are often culled, to use a word employed by dog fighters. To avoid

public scrutiny, dogfighters typically do not sell these dogs to non-dogfighters or take

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them to an animal shelter. “Culling” generally results in the death of these animals.

Federal agents are aware of dogfighting targets and defendants having killed dogs by

shooting them, strangling them, bludgeoning them, or drowning them. Dogfighters often

bury or otherwise discard the carcasses of culled dogs. Additionally, dogs killed in a

dogfight are also often buried or otherwise discarded; forensic examination of these

carcasses may provide information relative to the cause of death based on injuries and

other physical evidence.

       29.    Those involved in training and exhibiting fighting dogs commonly possess

several dogs at one time for several reasons. Dogfighters maintain a stock of dogs at

different weights and of both sexes because in dogfights, dogs are matched against other

dogs to within a pound of the same weight against dogs of the same sex. Maintaining a

stock of several dogs thus increases the odds of owning a dog whose weight meets the

requirements for a match being solicited by an opponent. Dogfighters also maintain

multiple dogs in order to selectively breed, sell, and fight dogs displaying certain traits

or to otherwise advance a particular dogfighting bloodline.

       30.    Those who breed dogs for animal fighting ventures often use and possess

“breeding stands,” which are devices used to immobilize a female dog for breeding when

the female dog is too dog-aggressive to mate naturally. Such devices are used exclusively

to breed fighting dogs, as legitimate breeders would no choose to breed a dog who was

too aggressive to mate naturally. Such a piece of equipment would likely be found in an

indoor area to avoid weather damage.

       31.    Further, dogfighters may possess an inventory of dogs because dogs often

die or are badly injured during fights. Dogfighters commonly store dog semen in frozen

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form to later use in breeding. Possessing multiple dogs also increases the prospects of

owning a dog who will become a Champion or Grand Champion. Dogfighters also

routinely test and evaluate (“roll”) their dogs to determine those that exhibit aggressive

behavior, including against their own dogs.

       32.    Dogs that lose fights or fail to show “gameness” are often killed. It is not

uncommon for dogs that lose matches to be killed in cruel, torturous, and inhumane

ways as punishment.

       33.    Dogfights typically involve consistent practices leading up to and during

the fight. Fighting dog owners or handlers enter into a verbal or written contract with

their opponent several weeks before the dog fight, often referred to as a “match,” “fight,”

or “show.” Dogfights may be organized under the cover of a “weight pulling

competition.” The owners or handlers typically agree upon: (1) the sex and set weight of

the dogs at the time of the fight; (2) the geographic area in which the fight will occur

(the exact location of which is often a guarded secret until shortly before the fight); (3) a

referee; (4) the payment of “forfeit” money that is lost if one participant pulls out of the

match or if a participant’s dog does not arrive at the agreed-upon weight; and (5)

monetary wagers placed by the respective owners or handlers.

       34.    It can be challenging for dogfighters to find an opponent with a dog of the

same weight and sex who is looking to fight that dog at the same time of year and for a

wager that is mutually agreeable to both parties. For that reason, dogfighters often rely

heavily on each other and on extensive networks of contacts to find an opponent who

has a dog of the same weight and sex and who is looking to fight that dog at the same

time of the year. The practice is known as “calling out a weight.” Dogfighters often “call

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out a weight” to known dogfighters in several states to increase their odds of finding a

match. “Calling out a weight” may be accomplished by telephone, text message, e-mail,

or other electronic communication including social media platforms like Facebook.

       35.    Once a dogfighter locates an opponent and agrees upon terms, the match

is “hooked,” or set up. The dog then undergoes a conditioning process dog handlers

refer to as a “keep.” A “keep” is typically conducted for six to eight weeks before the

scheduled match and involves a training program including: treadmills, “slat mills,”

“carpet mills,” “cat mills,” “jenny mills,” and exercise wheels used to run and exercise

the dogs away from public view; weighted chains and pulling devices used to increase

the dog’s strength and stamina; the use of devices such as “spring poles” and “flirt poles”

to build jaw strength and increase aggression; hides or other material used as hanging

devices to strengthen or condition dogs; water-based training such as tethering a dog to

a cable running across a pool; and the administration of drugs, vitamins, and other

medicine. Some of the illegal and legal drugs used include steroids to build muscle mass

and aggression. Dogfighters also often use “break sticks” to separate fighting dogs at pe-

determined intervals during a dogfight.

       36.    Dogs matched for future fights are expected to achieve their established

target weight by the scheduled match, much like in human boxing matches, requiring

close attention to a dog’s routine. Training can take place at a dogfighter’s “dog yard” or

indoors away from public view, often in a basement.

       37.    Although dogs used for fighting are often housed outside in many parts of

the country, as the match date approaches, a dog in a keep may be housed indoors or

near the owner/handler for several reasons. One reason is to prevent the dog from

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becoming sick or injured by other dogs before the match, which could cause the dog to

forfeit and the owner to pay a forfeit fee. Another reason is that dogs in a keep require

constant exercise and monitoring, which is easier when the dog is in close vicinity rather

than off-site or outside. Dogs intended for fighting purposes are also often housed inside

residences if they are injured, ill, pregnant, weaning, or if a dogfighter does not have

another location to keep them or wants to keep them out of view. Urban, suburban, or

otherwise densely populated areas provide an additional reason for dogfighters to house

dogs inside structures or residences to limit visibility of their activities.

       38.    Dogfighters sometimes breed their own fighting dogs from dogs they

already own, and sometimes buy fighting dogs from other dogfighters, either as adult

dogs or puppies. When dogfighters acquire dogs from other dogfighters, they sometimes

do so in order to integrate desired fighting traits or “bloodlines” from other dogfighters

into their own stock.

       39.    Some dogfighters are selective about who they will sell fighting dogs to

because the success of that dog in the fighting ring will reflect on the seller whose

bloodline is represented by the dog. A dog that produces multiple offspring that go on to

be “Champions” (i.e., winning three or more dog fights) is bestowed the “Register of

Merit” (“ROM”) title. This provides incentive to the seller to sell dogs to capable

dogfighters, with the intention that the dogs will be fought.

       40.    Commonly, those operating or participating in dogfighting ventures

maintain pedigrees, books, records, ledgers, and journals relating to the possession,

purchase, transportation, sale, breeding, and training of fighting dogs. These materials

exist in both hard and electronic copy and are frequently transmitted through the

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Internet on websites, forums, email, and social media. The “pedigree” of a fighting dog

frequently shows the dog’s name, with reference to the dogfighting “kennel” from which

the dog comes, as well as breeding lineage going back multiple generations, with

reference to the number of fights won by the dog and its predecessors. Pedigrees are

important in the dogfighting “industry” because they allow dogfighters to maintain

information on whether a particular “bloodline” or breeding combination resulted in

desired fighting traits.

       41.    Historically, “underground” dogfighting publications similar to magazines

are routinely published and distributed to readers through periodic subscriptions, which

describe and report on recent fight details and past results from around the country

using coded language. They also describe various “kennels” or dog breeders who raise

dogs for animal fighting purposes. In addition, there are online versions of published

magazines that serve the same purpose, as well as websites where dogfighters post

pedigrees to demonstrate the fighting lineage of their dogs. Dogfighters also often

maintain detailed ledgers and journals that specifically depict how certain dogs

performed during a particular fight, together with the duration and outcome of fights.

       42.    Dog fighting is frequently an international venture, with participants

traveling from all over the world to some fighting events. Because participants may be

geographically scattered, they often communicate through electronic means.

Dogfighters today tend to communicate with each other via text messages, social media

like Facebook, email, or website chat rooms dedicated to “game dogs.” Dogfighters

routinely “hook” matches and exchange documents, expertise, photographs, or videos

relating to dogfighting activities via email and other electronic means. Social media

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offers individuals who engage in animal fighting the ability to communicate using text

messages and audio calls, transmit and receive pictures and videos of animal fighting,

and establish and widen animal fighting networks. Public and private Facebook groups

dedicated to dogfighting exist. Dogfighters exchange photographs and videos of dogs,

for example, to demonstrate a dog’s conformation or build, gameness, and other fighting

qualities, when soliciting or advertising a dog for purposes of breeding, buying, or

arranging a fight.

       43.    People who engage in dog fights commonly maintain records that reflect

names, addresses, and/or telephone numbers of their associates in their cellular phones

or electronic address books.

       44.    Dogfighters also post dog pedigrees on the website

http://www.apbt.online-pedigrees.com, known as “Peds Online” or “Online Peds.”

Dogfighters use this as a repository for breeding information to prove and verify the

lineage of their dogs or dogs they are fighting against or considering buying or for

breeding purposes. The pedigree for each dog contains: an indicator of how many fights

the dog has won, whether the dog is a “Champion” or a “Grand Champion,” the breeding

history of the dog going back four generations, and indicators of the number of fights

that dogs in their bloodline have won. There is also a field for “Breeder” and “Owner.”

Some pedigrees have pictures of the dogs. Each pedigree has a unique six-digit number

that appears in the webpage internet address for that particular pedigree. Dog fighters

transmit hyperlinks to these fighting dog pedigrees by e-mail, text message, and social

media.



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       45.    “Peds Online” subscribers create a user account by providing an email

address. It is my understanding that a user who signs up for an account would typically

receive confirmation and notifications via email.

       46.    The transportation of dogs possessed, bought, and sold for the purpose of

dogfighting serves an important role in the dogfighting industry based on the

geographic dispersion of dogfighting across the United States and the world. Individuals

referred to as “transporters” are employed to convey dogs to and from subjects in

different physical locations. “Transporters” often use vans or trucks to move dogs across

the country and beyond.

                          Investigation Regarding John Murphy

       47.    The United States is conducting a criminal investigation of John Murphy,

a resident of Hanson, Massachusetts, and others—including David Frazer—for federal

offenses related to dogfighting. Based on my investigation, I believe that Murphy fights

dogs as well as transports, trains, breeds, possesses, receives, and sells dogs for

participation in animal fighting ventures from his Massachusetts residence and

elsewhere (including the State of Maine). I also believe Murphy has conspired with

Frazer of Monroe, Maine and others (known and unknown) to do the same.

       48.    A query of the Accurint information database for Murphy shows his

address as 944 East Washington Street, Hanson, Massachusetts (“HANSON

PREMISES”). Massachusetts Registry of Motor Vehicles (“RMV”) records showed that

Murphy possesses an active Massachusetts driver’s license with a residential and

mailing address of the HANSON PREMISES. RMV records also indicated that

Murphy has a 2021 Mercedes-Benz GLC (Massachusetts registration 4VKP49)

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registered in his name at the HANSON PREMISES. Records from the Town of Hanson

Assessor’s Office showed Murphy and another individual as the owners of the

HANSON PREMISES.

      49.    During the investigation, law enforcement identified two Facebook

accounts associated with Murphy under the usernames “John Mac Murchaidha” and

“Séamus Sugar.” Murphy, identified by his Massachusetts driver’s license photograph, is

depicted regularly in photos posted to both accounts. The “John Mac Murchaidha”

account subscriber information listed a recovery email address of

“jmurphy@brandonschool.org” and a user date of birth matching the date of birth for

Murphy. The “Séamus Sugar” account subscriber information listed a phone number

((774) 452-5000) identified as associated with Murphy and a user date of birth

matching the date of birth for Murphy. Both accounts were active as of March 2023.

      50.    On May 27, 2022, the United States District Court for the District of

Massachusetts issued search warrants for both Facebook accounts. The records

produced by Facebook in response to those warrants contain evidence of

Murphy’s involvement in dogfighting. Further, Murphy identified the HANSON

RESIDENCE as his address in Facebook Messenger messages within the account.

      51.    Starting in approximately 2012, Murphy began posting content related

to pit bull-type dogs on his “John Mac Murchaidha” account. In October 2012,

Murphy posted a picture of himself with a pit bull-type dog that he identifies in a

comment as “a very famous dog” and “valuable and historic to the breed:”




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prepare for fighting. Dogfighters use “Ch” to identify a dog as a “Champion” or a

dog that won at least three dogfights. The screenshot below shows the picture posted to

Scratch Dog Journal from the “Séamus Sugar” account at a location I know now to be

the HANSON PREMISES based on my physical presence at the location in June 2023.




       55.    In April 2022, the “Séamus Sugar” account posted the following

announcement stating that he was considering “offering 1 or 2 pups to the public both

parents are fine representation of everything that encompasses a bulldog.” Dogfighters

commonly refer to pit bull-type dogs as “bulldogs.” The post references “rom.” As

noted previously, a dog that produces multiple offspring that achieve “Champion”

status (i.e., winning three or more dog fights) is bestowed the “Register of Merit” or

“R.O.M.” title. This provides incentive to the seller to sell dogs to capable dogfighters,

with the intention that the dogs will be fought. A screenshot of the post appears below.



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       56.    A review of Murphy’s “Séamus Sugar” Facebook account revealed

photographs and videos that are believed to be related to dogfighting ventures over

multiple years. The account contains a photograph from the May/June 2004 issue of

the dogfighting magazine, Sporting Dog Journal. The photographs show records

concerning frozen semen storage for specific dogs named “Sismo” and “Alpo”. One

photograph shows a pit bull-type dog restrained in a breeding stand. Another

photograph shows Murphy shaking hands with a “legendary” suspected dogfighter

from Louisiana. Photographs show images of multiple veterinary supplements

including “BOLDERONE 200” which is a n anabolic androgenic steroid.

       57.    The following photograph, posted to the “Séamus Sugar” account in 2018,

shows a pit bull-type dog with discolorations on its head and front left leg consistent

with the scarring of skin. Pit bull-type dogs that survive dogfights often sustain wounds

to their body which may heal and scar:




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       58.    The following photograph, posted in 2018 to the “Séamus Sugar” account,

shows Murphy handling a pit bull-type dog:




       59.    Videos posted to the “Séamus Sugar” account on March 3, 2021, May 13,

2019, and February 18, 2020, depicted pit bull-type dogs physically tethered to three

different carpet/slat mills (i.e. treadmill-like devices that dogfighters commonly use to

physically condition dogs for dogfights). One of the videos depicted an apparently live

raccoon caged in front of the carpet mill, presumably to serve as a stimulus for the pit

bull-type dog. Screenshots from the three videos are included below:


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      60.    Text and audio messages in the “Séamus Sugar” account contained

content that I believe involved dogfighting and breeding pit bull- type dogs for the

purpose of fighting. For example, on June 3, 2019, Murphy discussed breeding and

purchasing dogs with another subject under investigation. Murphy claimed that he

“champed out more dogs in the last 4 years than this guy can name from and old SDJ

[likely, Sporting Dog Journal] mag lol.” I believe Murphy’s statement to be a reference

to a “champion” dog winning three dogfights.

      61.    On April 8, 2022, Murphy discussed suspected dogfighting with the

Facebook account of “John Jacob Jinglehimer”:




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      62.   Additional messages sent to “John Jacob Jinglehimer” on April 8, 2022,

included the following voice messages from Murphy:



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       64.     On April 26, 2023, the Honorable U.S. Magistrate Judge Karen Frink Wolf

for the District of Maine granted a search warrant for the Google Account of Jermaine

Faulk (FAULKJERMAINE72@GMAIL.COM) (“the Google Account”). Faulk, a resident

of East Baldwin, Maine, is another subject of the current investigation. 2

       65.     I am still in the process of reviewing the content of the Google Account

produced pursuant to the search warrant. In my initial review of the Google Account, I

observed a significant amount of content—in the form of photographs and videos—

depicting dogs fighting in apparent dogfighting events, dogs fighting in apparent

training contents (“bumps” or “rolls”), and dogs with gruesome and macabre injuries

including a dog eating the face of another dog.

       66.     In my review of the Google Account, I also located two videos (one 59

seconds long, one 1 minute and 25 seconds long) that show a white male adult wearing

blue denim overalls encouraging a dog to fight another dog in an apparent dogfighting

pit. I believe the male in the blue denim overalls to be Murphy. 3 Screenshots from each

video, which I believe depict the same dogfight that occurred on or about October 1,

2017, appear below.




2 On June 7, 2023, federal agents and state troopers executed a federal search warrant at Faulk’s

residence. Pursuant to the warrant, agents seized 16 pit bull-type dogs and various additional
items—for example, a weighted collar, two treadmills, break sticks, and papers regarding frozen
canine sperm—constituting evidence of federal offenses related to dogfighting. On that date,
Faulk denied being a dogfighter. Faulk’s significant other, who also resided at the residence,
denied she or Faulk were involved in dogfighting.
3 My belief is based on my face-to-face interaction with Murphy on June 7, 2023, the

comparison of the “sleeve” tattoos on both of the male’s arms in the videos with the tattoos that I
observed and documented on both of Murphy’s arms on June 7, 2023, my recognition of
Murphy’s voice from speaking with him in person, and my review of the photograph associated
with the Massachusetts driver’s license issued to Murphy.
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               Surveillance of Murphy’s Residence (HANSON PREMISES)

       67.    Between August 2022 and June 2023, investigators observed a white male

adult believed to be Murphy (based on his approximate height, physical build, hairstyle,

and tattoos) at the HANSON PREMISES. 4 The image below shows a white male adult

believed to be Murphy at the HANSON PREMISES handling a pit bull-type dog on

March 7, 2023:




4
 During the investigation in Massachusetts, law enforcement utilized a pole camera near the
HANSON PREMISES. The observations referenced in paragraphs 66 to 71 of this affidavit are
based on review of pole-camera video footage that I conducted and/or that was conducted by
other investigators. The still images contained in paragraphs 66, 67, 69, and 70 were taken from
that video footage.

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       68.     During each month from August 2022 through May 2023, investigators

documented pit bull-type dogs present at the HANSON PREMISES. Frequently,

investigators observed dogs exit the side door of the HANSON PREMISES nearest to

the driveway. The image below shows a white female adult—believed to be the other

owner of the HANSON PREMISES—handling a pit bull-type dog at the HANSON

PREMISES on March 8, 2023:




       69.     On March 14, 2023, Town of Hanson Animal Control Officer Joseph

Kenney (“ACO Kenney”) responded to a citizen report of a “dog tethered outside”

the HANSON PREMISES. 5 ACO Kenney met with Murphy at the HANSON

PREMISES. ACO Kenney reported a “red colored American bully tethered in the back

side yard with a raised dog house” and “what looked to be 2-3 small kennel runs set

up behind a stockade fence” at the HANSON PREMISES. ACO Kenney also

reported a “young pit type puppy” inside the HANSON PREMISES. Murphy




5 I understand that Massachusetts law prohibits the chaining or tethering of a dog “for longer

than 5 hours in a 24-hour period and outside from 10:00 p.m. to 6:00 a.m., unless the tethering
is not for more than 15 minutes and the dog is not left unattended by the owner, guardian, or
keeper.”
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provided a business card (depicted below) to ACO Kenney that listed “(774) 452-

5000)” under the name “John Murphy.”




       70.   On May 20, 2023, investigators observed a pit bull-type dog present at

 the HANSON PREMISES:




      71.    On June 3, 2023, at 11:08 a.m., the pole camera documented a male—who

I believe to be Murphy—load a pit bull-type dog into an animal transport crate in the

cargo area of a grey Jeep Cherokee parked in the driveway of the HANSON PREMISES.


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       74.    According to records from Verizon Wireless, Murphy—using the number

(774) 452-5000—texted the telephone number (207) 930-0401 at 9:15 a.m., 9:15 a.m.,

and 11:43 a.m. on June 3, 2023.

       75.    According to the Accurint database, Donna Frazer is the possible

subscriber for UScellular telephone number (207) 930-0401, with the SUBJECT

PREMISES as her associated address. As referenced in paragraph 11, Donna Frazer is

listed as an owner of the SUBJECT PREMISES.

       76.    Additionally, a search of a commercially available insurance database

showed a “Property/Casualty Claim” was submitted in February 2018 on a personal

automobile policy related to a traffic collision involving David Frazer. Within the

insurance claim, David Frazer was listed as an insured driver and involved party and the

record listed his cellular telephone as (207) 930-0401.



                           Search of the HANSON PREMISES

       77.    On June 2, 2023, the Honorable U.S. Magistrate Judge David Hennessey

for the District of Massachusetts granted a search warrant for the HANSON PREMISES.

       78.    On June 7, 2023, federal agents and state troopers executed the federal

search warrant at the HANSON PREMISES resulting in the seizure of 9 pit bull-type

dogs, blue denim overalls, electronic devices, and a significant quantity of additional

evidence of federal offenses related to dogfighting. The additional evidence of such

offenses included, among other things, skin staplers, intravenous solution bags with

lines and needles, break sticks with suspected blood in marring on the surface of the



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implements, suspected steroids, dogfighting literature, and dog training equipment.

Investigators also located firearms and suspected controlled substances.

         79.   Pursuant to the federal search warrant, I searched the cellular telephone of

Murphy, a Samsung SM-G970U (IMEI: 352066104155838), that I located in the master

bedroom of the HANSON PREMISES. The Samsung SM-G970U that I searched is

associated with/uses telephone number (774) 452-5000. The cellular telephone

contained multiple dogfighting videos as well as significant content related to

dogfighting generally. Specifically, I reviewed a 2-minute-and-10-second video of a

white male adult—who I believe to be Murphy—wearing blue coveralls encouraging a

dog to fight another dog in an apparent dogfighting pit. 6 A screenshot from the video,

which I believe depicts a dog fight that occurred on or about December 7, 2017, appears

below.




6 My belief is based on my face-to-face interaction with Murphy on June 7, 2023, my recognition

of Murphy’s voice from speaking with him in person, my review of the photograph associated
with the Massachusetts driver’s license issued to Murphy, and the discovery of the video on a
cellular phone used by Murphy.
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      80.      During my search of the same cellular telephone, I located a text message

conversation between Murphy and telephone number (207) 930-0401. Murphy saved

the contact associated with that telephone number as “Dave Frasier Maine.”

      81.      I reviewed the conversation between Murphy and “Dave Frasier Maine”

that occurred between September 27, 2019, and June 3, 2023.

            a. The conversation involved the discussion of dozens of dog pedigrees,

               references to suspected dogfight performance and results, numerous

               pictures of pit bull-type dogs housed in a manner consistent with dogs

               possessed for the purpose of dogfighting, and two separate news-article

               links regarding dogfighting-related law enforcement operations.

               Additionally, Murphy stated “the feds” arrested his friend in a

               conversation regarding dogs and the avoidance of “unwanted attention” in

               a message sent on November 3, 2019.

            b. It appears that Murphy and Frazer exchanged pedigree links via text

               messages over forty times. Frazer both sent and received pedigree links.

            c. As an example of their communications, Murphy sent a message to “Dave

               Frasier Maine” on May 28, 2023, stating, “I'm gonna make 1 of those

               sheezy dogs a champion for you. Watch.” Based on my training and

               experience, I believe Murphy stated his intent to train to one of Frazer’s

               dogs to prepare for dogfights as well as handle dog(s) in dogfight(s) to

               achieve three or more wins over other dogs earning the title of

               “champion.”



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            d. On June 3, 2023, Murphy sent a message to “Dave Frasier Maine” stating,

               “Gonna head up shorly.” Murphy additionally stated, “Got an old gal with

               me shes 10. Gonna put her up till she comes in heat”. Murphy sent a final

               message stating, “On way”. The term “heat” likely refers to the ability of a

               female dog to accept a male dog for the purpose of conceiving. Based on

               my training and experience and the context of the conversation, I believe

               Murphy was informing “Dave Frasier Maine” that he was bringing a 10-

               year-old dog to “Dave Frasier Maine” to be housed until she was in heat.

               “Dave Frasier Maine” responded to Murphy stating, “OK. Can we hit TSC

               while you're here? Getting low on supplies . . . .” In this context, I believe

               “TSC” means Tractor Supply Company, a chain of retail stores that sells

               animal products including pet food.

      82.      In my review of Murphy’s cellular telephone, I determined that the user of

the phone had searched for the address of the SUBJECT PREMISES in the Waze app on

multiple dates including June 3, 2023. Based on my experience and research, I am

aware that Waze is satellite navigation software application on smartphones and other

electronic devices that relies on the Global Positioning System (GPS) to provide users

with turn-by-turn directions to a selected destination.

      83.      In my review of Murphy’s cellular telephone, I determined that the user of

the phone had also searched for the address of the SUBJECT PREMISES in the Waze

app on August 31, 2020, December 17, 2022, March 18, 2023, and April 22, 2023.

      84.      Based on my training and experience and my review of the information

contained in Murphy’s cellular telephone, I believe that Frazer and Murphy have

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         b. On August 25, 2020, the Facebook Account posted the following image I

            believe was taken at the SUBJECT PREMISES.




         c. On January 22, 2020, the Facebook Account posted the following image I

            believe was taken at the SUBJECT PREMISES.




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with the outdoor housing of dogs possessed for the purpose of dogfighting. The picture

from the post appears below.




      88.    On May 31, 2023, the Facebook Account posted a picture of pit bull-type

dog. The picture from the post appears below.




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                         Surveillance of the SUBJECT PREMISES

       89.    A Google Earth satellite image with an imagery date of May 11, 2018, is

available for the SUBJECT PREMISES. 7 The publicly available satellite image shows

objects of the appropriate size, color, shape, and spacing of dog houses used to house

dogs for the purpose of dogfighting. 8 The Google Earth image of the SUBJECT

PREMISES appears below (emphasis added with yellow circles).




7
  Based on my training and experience, I am aware that satellite images available on Google
Earth often may not capture individual animals at a given location. However, Google Earth
images can be helpful in identifying kennels and outbuildings, large dogfighting equipment like
a “cat mill” or a turntable, and “chain spots.”
8
  Dogs used in dogfighting ventures are aggressive towards other dogs. For this reason, they
must be housed separately in a way where unintended fighting cannot occur.

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      90.    On June 16, 2023, Lieutenant Randall Keaten of the Maine State Police

Major Crimes Unit conducted surveillance at the SUBJECT PREMISES. Lieutenant

Keaten reported hearing sounds that he believed to be dogs barking at the SUBJECT

PREMISES.

      91.    On June 16, 2023, Trooper Gregory Tirado of the Maine State Police Air

Wing conducted aerial surveillance of the SUBJECT PREMISES. During the overflight,

Trooper Tirado photographed dogs that appeared to be housed in a manner consistent

with possession for the purpose of dogfighting. Multiple dogs are visible in the

photographs. The suspected dog houses are encircled by round-shaped patterns of bare

ground commonly known as “chain spots.” Based on my training and experience, I am

aware that such “chain spots” are frequently created when a pit bull-type dog chained to

a fixed point with heavy logger chains wears away surface vegetation within the range of



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                   Additional Information Regarding Probable Cause

       93.    There is probable cause to believe that the items in Attachment B will

continue to be found at the SUBJECT PREMISES. First, with respect to the dogs

themselves, dog fighters are known to maintain successful or high-potential fighting

dogs long periods of time so that they can continue to profit off of those dogs from

future dog fights or from selling offspring or breeding rights. The more fights a dog

wins, the higher that dog’s value, for either offspring, breeding, or sale to another

dogfighter.

       94.    As noted above, dogfighters will actively condition a dog for approximately

eight weeks in between “hooking” a match and the fight itself. Following a match, if the

dog survives, the handler will typically allow the dog several months to recover from

injury, before re-assessing that dog’s fighting fitness and hooking him or her for the next

match. It would not be uncommon for a dog fighter to match (fight) a particular dog no

more than once every nine to twelve months. Thus, the active career of a successful

fighting dog could span several years, during which time the dog would remain in the

owner’s custody.

       95.    By way of example, I am aware that agents in a separate investigation

obtained evidence in a criminal investigation showing that one convicted defendant had

raised a particular fighting dog named “Momba” from birth, matched her multiple

times, and continued to breed her until she was nearly eleven years old, at which point

she was seized as part of the investigation.

       96.    Further, as noted above, dogfighters typically keep a “yard” housing

several to many fighting dogs, so that they can have different weights, sexes, fighting

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abilities, and recovery cycles (dogs in different stages of recovery from previous fights)

to choose from when seeking or agreeing to “hook” a match. Thus, even though any

particular dog may have since been killed or traded since the government’s last

surveillance and/or social media posting, there is probable cause to believe that multiple

fighting dogs will continue to be found at the SUBJECT PREMISES.

       97.      Relatedly, developing and proving a fighting dog’s “bloodline” or breeding

lineage is of great importance to dogfighters, for several reasons, including: to track the

dogfighting “wins” of a dog and its predecessors, to ascertain whether certain fighting

traits or physical characteristics were passed on or likely to be passed on, to show that a

dog’s predecessors were proven fighting dogs or bred by notable dogfighters, and to

provide provenance that affects the market value of a dog for sale, breeding, or wagering

on dogfights.

       98.      It can take years or even decades of continuous possession of fighting dogs

for a dogfighter to fully develop a fighting “bloodline” to his or her satisfaction. I am

aware that the government has prosecuted multiple dogfighters who were involved in

the illegal industry for decades before their activities became known to law enforcement.

For that additional reason, there is probable cause to believe that multiple fighting dogs

will continue to be found at the SUBJECT PREMISES.

       99.      There is likewise probable cause to believe that dead dogs may be found at

the SUBJECT PREMISES. In selecting which dogs from a dogfighter’s stock are ready to

fight, and as part of their selective breeding programs to develop the most dog-

aggressive dogs, dogfighters frequently “cull” underperforming dogs.



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          100.   As noted above, probable cause exists to believe Frazer and Murphy

possess—or have possessed—dogs for the purpose of dogfighting. In order to train and

test such dogs, “roll” or “bump” fights are sometimes conducted in an enclosed fighting

pit or improvised enclosed area similar to that which would be used for a contract

match. There is thus probable cause to believe that components of a fighting pit,

including materials that may contain blood evidence, will be found at indoor and

outdoor locations at the SUBJECT PREMISES. Based on previous dog fighting

investigations, such materials can often be found in sheds, garages, and outbuildings. As

noted above, such forensic evidence can be detected years after it is originally created.

          101.   There is likewise probable cause to believe that the dogfighting equipment,

documents, and other physical evidence will continue to be found at the SUBJECT

PREMISES. As noted above, such items are integral to the ongoing maintenance,

training, and fighting of a yard of fighting dogs. Certain items, such as a hanging scale,

slatmill, or flirt pole, would receive daily or near-daily ongoing use and are routinely

found in the immediate vicinity of the dogs or in a residence on the property.

          102.   Additionally, some of these items, such as a jenny mill or a “cat mill,” or

the heavy chains to which many fighting dogs are affixed (with a buried car axle on the

other end), are far too large, heavy, and/or difficult to move, conceal, or dismantle.

Others, like a slatmill, represent a significant monetary investment by the owner, and

are not lightly parted with. Once obtained, it is common for dogfighters to continue to

maintain and use such items until they have reached the end of their service life or are

seized.



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        103.   As noted above, in order to maintain a stock of fighting dogs, individuals

involved in dogfighting like Murphy and Frazer typically use specialized equipment, as

well as veterinary drugs and supplements, to train and prepare dogs for fighting and to

treat dogs that are injured in the course of training or matches. Since Frazer continues

to house dogs for use in dogfighting, there is probable cause to believe Frazer maintains

such equipment inside the residence or outbuildings at the SUBJECT PREMISES.

        104.   Dogfighting papers and books – and in particular fighting dog “pedigrees”

or underground “registry” documents – are also likely to continue to be found at the

SUBJECT PREMISES. As noted above, the information on a fighting dog’s pedigree is

invaluable to a dogfighter, and in some instances represents and documents years or

even decades worth of that person’s “achievement” in developing a fighting dog program

or “bloodline.” It is essential for dogfighters to have this information readily available,

both as reference material to guide future breeding and fighting plans, and as

documentation to prove the fighting provenance of dogs intended to fought, bred, or

both.

        105.   Agents routinely seize such papers when executing search warrants in

dogfighting investigations, and sometimes they are decades old, showing continuous

ongoing possession of both the papers and the dogs identified in the bloodline of such

documents. For example, I seized pedigree papers from the HANSON PREMISES

during the June 7, 2023 execution of the federal search warrant that dated back to the

1990’s.

        106.   I believe probable cause exists to search vehicles registered to or operated

by Frazer and/or Murphy if they are present on the SUBJECT PREMISES at the time of

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the execution of the search warrant. Based upon my training and experience, I am aware

that those engaged in dogfighting ventures frequently use their personal vehicles to

transport dogs for various purposes, including to “rolls”/“bumps” and contract matches.

I know that instrumentalities such as leashes and restraints are frequently located in

such vehicles. Additionally, dogfighting papers, books, documents, and records can be—

and frequently are—possessed on electronic devices and electronic storage media as

discussed below. I am aware that those engaged in animal fighting ventures—like

individuals who are not engaged in such ventures—frequently carry electronic

devices and electronic storage media like cellular phones on their persons and in their

vehicles.

       107.   For the same reason—that individuals frequently possess and carry their

electronic devices and electronic storage media like cellular phones—there is probable

cause to search Frazer person and/or Murphy’s person if they are located on the

SUBJECT PREMISES at the time the warrant is executed. Based on the investigation to

date and the information discussed above, I believe that Frazer and Murphy

communicate, at least in part, by cellular telephone. Given the evidence that Frazer and

Murphy regularly utilize their Facebook accounts and have exchanged text messages,

there is reason to believe that Frazer and Murphy regularly carry and use cellular

phones, and that those devices contain evidence of, and are instrumentalities of, the

SUBJECT OFFENSES. If Frazer and/or Murphy are present on the SUBJECT

PREMISES at the time the search warrant is executed, a search of their persons would

permit the seizure of their cellular phones and prevent Frazer and/or Murphy from

secreting any evidence located at the SUBJECT PREMISES on their persons.

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               Seizure of Electronic Devices and Electronic Storage Media

       108.   Dogfighting papers, books, documents and records can be—and frequently

are—created, possessed, maintained, stored, sent, received, traded, and exchanged

electronically on electronic devices and electronic storage media including computers,

cellular telephones, and tablets. Such devices are also—depending on their make, model,

and operating system—capable of taking, saving/storing, sending, and receiving

photographs and videos, data, voice messages, text messages, e-mails, and other

communications via messaging applications.

       109.   In my training and experience, I know that individuals involved in

dogfighting communicate with others regarding the possession and sale of dogs for

dogfighting, the organization of dogfights, the arrangements of wagers for dogfighting

ventures, and other activities related to animal fighting and illegal gambling. Given that

those involved in such communications are often spread across one or more states (or

countries), I know that these communications often occur via electronic means,

including email, telephone, text messaging, and social media.

       110.   In my experience, I have observed photos, videos, and pedigree

information transmitted via text messages, Facebook Messenger, and other electronic

means by individuals involving in dogfighting. Additionally, I have listened to audio of

individuals involved in dogfighting coordinating dogfighting events, illegal gambling,

and other activities related to such violations. I have seen the extensive use of the

internet to obtain and share knowledge related to possessing and training animals for

animal fighting. I am also aware that individuals exchanging such electronic

communications frequently store contact—and potentially identifying—information for

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others engaged in animal fighting in their cellular phones and/or electronic address

books.

         111.   In my training and experience, and based upon my communications with

other law enforcement agents who have engaged in similar investigations and my review

of information obtained from Facebook and Google search warrants, I believe that that

examining data stored on such electronic devices can uncover, among other things:

            a. Evidence that reveals, suggests, or confirms who possessed or used each

                device and/or who had access to or used the Facebook Account and the

                Google Account;

            b. Evidence that demonstrates communications, agreement, and association

                between and among those involved in criminal activities—including

                animal fighting ventures—as well as evidence of specific instances of such

                conduct; and

            c. Evidence of engaging in criminal offenses related to animal fighting

                ventures, such as dogfighting papers, books, documents, and records (like

                pedigrees), and videos and photographs of dogs and dogfights.

         112.   As shown above, Frazer and Murphy engaged in numerous electronic

communications (with each other and with others) regarding, or indicative of, illegal

dogfighting activities, including the transmission and receipt of videos and photographs.

Frazer and Murphy would have needed to use cellular telephones, computers, tablets, or

other electronic storage media to do so. Such video and photograph files, and other

similar evidence, would likely be found on electronic devices and electronic storage

media at the SUBJECT PREMISES.

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       113.   Further, as discussed above, Frazer and Murphy shared multiple links to

the dogfighting website “Peds Online.” Accordingly, there is probable cause to believe

that evidence in the form of internet history, uploaded and downloaded materials from

Peds Online, and other evidence of illegal dogfighting activity will be found on electronic

devices and electronic storage media at the SUBJECT PREMISES.

       114.   In my training and experience, and based upon my communications with

other law enforcement agents who have engaged in similar investigations, I know that

electronic data and information can be stored on a variety of systems and storage

devices, including external and internal hard drives, flash drives, thumb drives, micro

SD cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular telephones

capable of storage, floppy disks, compact disks, magnetic tapes, memory cards, memory

chips, and online or offsite storage servers maintained by corporations (including, but

not limited to, “cloud” storage).

       115.   In most cases, a thorough search of a premises for information that might

be stored on storage media often requires the seizure of the physical storage media and

the later off-site review of that storage media consistent with an appropriate warrant.

Though it is sometimes possible to make an image copy of a storage media on-scene in

lieu of removing storage media from the premises, I am not requesting authority to

search any seized electronic devices/storage media at this time. In the event that such

electronic devices/storage media are seized, I anticipate seeking a separate warrant to

search those devices/media.




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                                    CONCLUSION

      116.   Based on the forgoing, I respectfully request that the Court issue the

proposed search warrant.

      117.   Based on the foregoing, there is probable cause to believe that Frazer and

Murphy have violated the federal criminal statutes cited herein, and that evidence,

fruits, and instrumentalities of the Subject Offenses—more fully described in

Attachment B—are located at the SUBJECT PREMISES—more fully described in

Attachment A. I respectfully request that the Court issue the requested warrant

authorizing the search of the SUBJECT PREMISES and the seizure therefrom of the

evidence, fruits, and instrumentalities described in Attachment B.

      118.   I seek permission to allow USDA-OIG to obtain the assistance of Maine

State Police and other federal, state, and/or local law enforcement authorities, including

the United States Marshals Service (“USMS”) and contractors utilized by the USMS for

the handling of seized animals, in handling the animals and executing the search of the

SUBJECT PREMISES. I also seek permission to allow these parties to seize items

identified in Attachment B, to take photographs and/or video of any other location,

item, or individual at the SUBJECT PREMISES, and to establish safety perimeters as

necessary to accomplish the search and seizure.

      119.   Necessary veterinary care will be provided to any seized animals as

required by 7 U.S.C. § 2156(e).



                                              Respectfully submitted,



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